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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  C ase N o.22-CR -20377-G ayles


   UNITED STATES O F AM ERICA

   VS.

   JUAN VALENCIA ZULUA GA ,

         D efendant.



                                      PLEA A G R EEM EN T


         TheUnited StatesAttorney'sOfficefortheSouthernDistrictofFlorida(ûithisOffice''land
  JUAN VALENCIA ZULUAGA (hereinafter referred to as the ûtdefendant'') enter into the
  following agreement'
                     .

             The defendantagrees to plead guilty to the sole charge in the lndictm cnt, w hich count

  chargesthatfrom in oraboutJanuary 2010 to in oraboutJuly 2021, in thecountriesofColombia,

  Guatem ala,Honduras, Costa Rica,M exieo and elsewhere, the defendant did knowingly and

  willfully conspire to distribute a controlled substance, specifically 5 kilogram s or m ore of a

  substancecontaining cocaine,knowing thatsuch substancewouldbeunlawfully imported intothe

  United States,in violation ofTitle21,United StatesCode, Sections959 and 963.

            Thedefendantisawarethatthesentencewillbeimposed bytheCourtafterconsidering

  the advisoly FederalSentencing Guidelines and Policy Statements (hereinafter ûssentencing
  Guidelines''). The defendantaeknowledgesand understandsthatthe Courtwillcompute an
  advisoly sentence under the Sentencing Guidelines and that the applicable guidelines willbe

  determ ined by the Courtrelying in parton theresultsofapre-sentence investigation by the Court's
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                                                 2
   probation oftice,which investigation willcom mence afterthe guilty plea hasbeen entered. The

   defendantisalso awarethat,undercertain circum stances, theCourtmay departfrom the advisory

   Sentencing Guidelinesrange thatithaseom puted,and m ay raise orlowerthatadvisory sentenee

   underthe Sentencing Guidelines. Thedefendantisfurtherawareand understandsthatthe Court

   isrequired to considertheadvisory guidelinerangedeterm ined undertheSentencing Guidelines,

   butisnotbound to im pose asentence within thatadvisol'
                                                        y range;the Courtisperm itted to tailor

  the ultim ate sentence in lightof other statutory concerns, and such sentence m ay be eitherm ore

   severe orlesssevere than the Senteneing Guidelines'advisory range. Knowing these facts,the

  defendantunderstandsand acknowledgesthatthe Courthasthe authority to im poseany sentence

  within and up to thestatutory m axim um authorizedby 1aw fortheoffensesidentified in paragraph

   1and thatthe defendantm ay notwithdraw thepleasolely asaresultofthe sentenceimposed.

             The defendant also understands and acknowledges that the Court m ay im pose a

  statutory m axim um tel'm ofimprisonm entofup to lifeim prisonm entandm ustim poseastatutory

  m inim um term of 10 years'im prisonm ent, follow ed by a term of supervised release ofatleast5

  years and up to a lifetime of supervised release. In addition to a term of imprisonment and

  supervised release,theCourtmay impose afine ofup to $10,000,000.

             Thedefendantfurtherunderstandsand acknowledgesthat, in addition to any sentence

  imposedunderparagraph 3 ofthisagreem ent, a specialassessmentin the am ountof$100 willbe

  imposed on the defendant. The defendantagreesthatany specialassessm entimposed shallbe

  paid atthetim e ofsentencing. Ifthe defendantisfinancially unableto pay the specialassessm ent,

  the defendantagreesto presentevidenceto thisOfficeand the Courtatthe time ofsentencing as

  to thereasonsforthedefendant'sfailuretopay.
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                                                3
              ThisOfficereservesthe rightto inform theCourtand theprobation office ofal1facts

   pertinentto the sentencing process,including allrelevant information concerning the offenses

   committed,whether charged or not,as wellas concerning the defendantand the defendant's

   background. Subjectonlytotheexpresstermsofany agreed-uponsentencingrecommendations
   contained in thisagreem ent,thisOffice furtherreservestherightto make any recommendation as

   to the quality and quantity ofpunishm ent.

          6. ThisOfficeagreesthatitwillrecom mend atsentencing thatthe Courtreduce by two

  levelsthe Sentencing Guidelineslevelapplicable to the defendant'soffense, pursuantto Section

  3E1.1(a)oftheSentencing Guidelines,based upon thedefendant'srecognition and affirmative
  and tim ely acceptance of personalresponsibility. Ifatthe tim e of sentencing the defendant's

  offense level is determ ined to be 16 or greater, this Office w ill file a m otion requesting an

  additionalone leveldecrease pursuantto Section 3E1.1(b)oftheSentencing Guidelines,stating

  thatthe defendanthas assisted authorities in the investigation orprosecution ofthe defendant's

  own m isconductby timely notifying authorities ofthe defendant's intention to enter a plea of

  guilty, thereby pennitting the governm ent to avoid preparing for trial and permitting the

  governm entand the Courtto allocate theirresourcesefficiently. ThisOffice,however,willnot

  berequiredto makethismotion andthisrecommendation ifthedefendant:(1)failsorrefusesto
  m ake a full, accurate and com plete disclosure to the probation office of the circum stances

  sulw unding the relevant offense conduct;(2) is found to have misrepresented facts to the
  governm ent prior to entering into this plea agreem ent'
                                                         , or(
                                                             3) commits any misconductafter
  enteringintothispleaagreem ent,including butnotlim itedtocom mittingastateorfederaloffense,
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                                             4
   violating any term of release, or making false statem ents Or m isrepresentations to any

   governm entalentity oroftk ial.

              ThisOfficeand thedefendantagreethat, although notbinding on theprobation office

   or the Court,they willjointly recommend thatthe Cotu'tmake the following findings and
   conclusionsasto thesentence to be imposed'
                                            .




                 (a)    Thatthequantityofcocaineinvolvedintheoffense,forpurposesofSection
         2D1.1(a)and(c)oftheSentencingGuidelines,isatleast4,000kilograms;and
                 (b)    Thatanaircraftotherthanaregularlyscheduledcommercialaircarrierwas
         used in the scheme,asnoted in 2D 1 1(b)(3)(A)oftheSentencingGuidelines.
                                             .




         8.      This Office and the defendantagreesthat, although notbinding on the probation

  officeortheCourt,theywilljointlyrecommendthat,pursuantto Section 5C1.2oftheSentencing
  Guidelines,the Courtim pose a sentence w ithin the Sentencing G uidelinesrange withoutregard to

  any statutory minimum sentenceidentified in paragraph 3 above, provided that:

                (a)     thedefendantisnotfoundtohavemorethanonecriminalhistorypoint,as
  determined undertheSentencing Guidelines;

                (b)     notlaterthanthetimeofthesentencing hearingthedefendantprovidesto
  this Office a statement truthfully setting fol'th allinform ation and evidence the defendant has

  concerning the offense oroffenses that were partofthe sam e course ofconductorof a com m on

  schem e orplan as charged in the indictm ent;and

                       the defendantisnotfound to have used violence orthreatsofviolence, or

  to have possessed a firearm or other dangerous w eapon in connection w ith the offense'
                                                                                        , thatt
                                                                                              he
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                                                 5
   offensedidnotresultindeathorseriousbodilyinjurytoanyperson'
                                                             ,andthatthedefendantisnot
   found to havebeen an organizer,leader, m anageror supervisor ofothersin the offense.

         9. The defendantis aware thatthe sentence hasnotyetbeen determ ined by the Court.

   Thedefendantalsoisawarethatany estimateoftheprobablesentencingrangeorsentencethatthe

   defendantmay receive,whetherthatestimatecom esfrom thedefendant'sattorney, thisOffice,or

  theprobation office,isaprediction, nota prom ise,and isnotbinding on thisO ffice, the probation

  officeortheCourt. Thedefendantunderstandsfurtherthatany recomm endation thatthisOffice

  makestotheCourtastosentencing,whetherpursuanttothisagreem entorotherwise, isnotbinding

  on the Courtand the Courtm ay disregard the recomm endation in its entirety. The defendant

  understands and acknowledges,as previously acknowledged in paragraph 2 above, that the

  defendantmay notwithdraw hisplea based upon the Court'sdecision notto accepta sentencing

  recommendation made by the defendant,this Office, orarecommendation madejointly by the

  defendantand thisOffice.

         10. Thedefendantagreesthatheshallcooperatefully withthisOfficeby:(a)providing
  truthfuland com plete infonnation and testimony, and producing docum ents,recordsand other

  evidence,when called upon by thisOffice, whetherin interviews,beforeagrandjury,oratany

  trialorotherCourtproceeding;(b)appearingatsuchgrandjuryproceedings,hearings,trials, and
  otherjudicialproceedings,andatmeetings,asmayberequiredbythisOffice;and(c)ifrequested
  by thisOffice,working in an undercoverrole underthe supervision of, and in compliance with,

  law enforcem entofficers and agents. In addition,the defendantagreesthathe willnotprotect

  any person orentity through false information orom ission, thathewillnotfalsely implicate any

  person orentity,and thathe thathewillnotcomm itany furthercrim es.
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                                                 6
               This Office reserves the rightto evaluate the nature and extentofthe defendant's

   cooperation and to m ake thatcooperation,or lack thereof, known to the Courtat the time of

   sentencing. lfinthesoleandunreviewablejudgmentofthisOfticethedefendant'scooperation
   isofsuch quality and signifieanceto the investigation orprosecution ofothercriminalm attersas

   to warrantthe Court'sdownward departure from the advisory sentencing rangecalculated under

   the Sentencing Guidelinesand/orany applieablem inimum m andatory sentenee, this O ffice m ay

  m ake a m otion priorto sentencing pursuantto Sed ion 5K 1.1 ofthe Sentencing Guidelines and/or

  Title18,UnitedStatesCode,Section3553(e),orsubsequenttosentencingpursuanttoRule35of
  the FederalRules of Crim inal Procedure, infonuing the Courtthatthe defendanthas provided

  substantial assistance and recomm ending that the defendant's sentence be reduced        .   The
  defendantunderstandsand agrees, however,thatnothing inthisagreem entrequiresthisOfficeto

  file any such m otions,and thatthis Oftice's assessm entof the quality and significance ofthe

  defendant'scooperation shallbe binding asitrelatesto the appropriatenessofthisOffice'sfiling

  ornon-filing ofa m otion to reduee sentence.

         12. Thedefendantunderstandsand acknowledgesthattheCourtisundernoobligation to

  granta motion forreduction ofsentence filed by this Office. In addition,thedefendantfurther

  understands and aelmowledgesthatthe Courtis under no obligation ofany type to reduce the

  defendant'ssentencebecause ofthedefendant'scooperation.

         13. Itisunderstood thatshould the defendantltnow ingly provide incom plete oruntruthful

  testim ony,statem ents,or inform ation pursuantto this agreem ent, or should the defendantfalsely

  im plicate or incrim inate any person,or should the defendantfailto voluntarily and unreservedly
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                                               7
   discloseandprovidefull,complete,truthful,andhonestknowledge, inform ation,and cooperation

  regarding any ofthe mattersnoted herein,thefollowing eonditionsshallapply:

                        Thedefendantmay beprosecuted forany perjury orfalsedeclarations,if
  any,committedwhiletestifyingpursuanttothisagreement,orforobstrudionofjustice.
                  (b)   TheUnited Statesmayproseeutethedefendantforthechargeswhichareto
  bedismissed pursuantto thisagreement,ifany,and m ay eitherseek reinstatem entoforrefilesuch

  charges and prosecute the defendant thereon in the event such charges have been dism issed

  pursuantto this agreem ent. W ith regard to sueh charges,ifany, which have been dismissed,the

  defendant,being fully awareofthenatureofallsuch chargesnow pending in theinstantcase, and

  being furtheraware ofdefendant'srights,asto a1lfelony chargespending in such cases(those
  offensespunishableby imprisonmentforaterm ofoveroneyear),tonotbeheldtoanswertosaid
  felonychargesunlessonapresentmentorindidmentofagrandjury,andfurtherbeingawarethat
  allsuch felony chargesintheinstantcasehaveheretoforeproperlybeenreturnedby theindidm ent

  ofa grandjury,doeshereby agree to reinstatementofsuch ehargesby decision ofany order
  dismissingthem or,alternatively,doeshereby waive,in open court,prosecutionby indictm entand

  consentsthatthe United Statesm ay proceed by infonuation instead ofby indictm entwith regard

  to any felony chargeswhich may bedismissed in theinstantcase, pursuantto thispleaagreement,

  and thedefendantfurtheragreesto waivethe statuteoflim itationsand any speedy trialclaim son

  such charges.

                        The U nited States m ay proseeute the defendantfor any offenses set forth

  herein,ifany,theprosecution ofwhich in accordance w ith thisagreem ent, theU nited Statesagrees
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                                              8
  to forego,and the defendantagreestow aivethe statuteoflim itationsand any speedy trialclaims

  as to any such offenses.

                 (d)    The govermnent may use against the defendant the defendant's own
  admissionsandstatementsandtheinformationandbooks,papers,documents,andobjectsthatthe
  defendanthasfum ished in the eourse ofthe defendant'scooperation with the government.

                 (e)    Thedefendantwillnotbepermittedto withdraw theguilty pleastothose
  countsto which defendanthereby agreesto plead in the instantcase.

         14. The defendantknowingly and voluntarily agreesto the ently ofa forfeiture money

  judgmentagainsthim in an amountto be determined atsentencing (hereinafter,theûtForfeiture
  M oneyJudgmenf'),whichheagreesisasum ofmoneyequalinvaluetopropertyconstituting,or
  derived from ,proceedsobtainedby the defendantastheresultoftheviolationsto which he agree

  to plead guilty herein,and the property used,orintended to be used,in any m annerorpart,to

  com m it,orto facilitate the com m ission ofsuch violations.

              The defendant know ingly and voluntarily agrees to w aive his right to a hearing,

  pursuantto Fed.R.Crim.P.32.2(b)(1)(A),to determine the amountofthe Forfeiture M oney
  Judgment. Furthennore,thedefendantltnowingly and voluntarily agreesthathe shallnot,inany

  m anner,actin oppositiontotheUnited Statesinseekingentryand fullsatisfactionoftheForfeiture

  M oney Judgm ent.

         16. The defendantknow ingly and voluntarily agrees to w aive the follow ing rights w ith

  resped to the forfeiture the entry ofthe Forfeiture M oney Judgm entagainsthim :

                        A l1constitutional,legal,and equitable defensesto such forfeiture'
                                                                                         ,

                (b)     Any constitutionalorstatutorydoublejeopardydefenseorclaim regarding
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                                                 9
  such forfeiture;

                         Any claim ordefense to such forfeiture broughtorraised underthe Eighth

  Amendmentto theUnited StatesConstitution,including,butnotlim ited to,any claim ordefense

  ofexcessive tine;and

                (d)      Any righthe may have to an appealofany resulting orderofforfeiture
  regarding the PersonalProperty and/ortheForfeiture M oney Judgm ent.

         17. The defendant also agrees to assistthis Office in allproceedings,adm inistrative or

  judicial,involving forfeituretotheUnited Statesofany property,including substituteproperty,
  regardless of its nature or fonn,real or personal, which the defendant or others known to the

  defendant, have accum ulated as a result of illegal activities. The assistance shall include'
                                                                                              .

  identificationofanypropertysubjecttoforfeiture,agreementtotheentryofanorderenjoiningthe
  transferoreneumbranee ofsueh property,andthetransferofsuch property to theUnited Statesby

  delivery to this Office upon this O ffice's request,any necessary and appropriate docum entation,

  including consentsto forfeiture and quitclaim deeds,to delivergood and m arketable titleto such

  property.

         18. The defendantisaware thatTitle28,United StatesCode,Section 1291and Title 18,

  U nited States Code,Section 3742 afford the defendantthe rightto appealthe sentence im posed in

  this case. Acknowledging this,in exchange forthe undertakingsm ade by the United States in

  thispleaagreem ent,the defendanthereby waivesallrightsconferred by Sections 1291and 3742

  to appealany sentence im posed,including any restitution order,orto appealthe m alm erin which

  the sentence wasim posed,unlessthe sentence exceedsthe m axim um perm itted by statute oristhe

  resultofan upw ard departure and/or an upward variance from the advisory guideline range that
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                                                10
   the Coul't establishes at sentencing. The defendant further understands that nothing in this

   agreem entshallaffectthegovernm ent'srightand/orduty to appealassetforth in Title 18,United

   StatesCode,Section 3742*)and Title28,United StatesCode,Section 1291. However,ifthe
   United States appeals the defendant's sentence pursuant to Sections 3742(19 and 1291,the
   defendant shallbe released from the above waiver of his rightto appealhis sentence. The

   defendantfurtherherebywaivesallrightsconferredby Title28,United StatesCode,Section 1291

   to assertany claim that (1) the statutets) to which the defendant is pleading guilty is/are
   unconstitutional;and/or(2)theadmittedconductdoesnotfallwithinthescopeofthestatutets)of
   conviction. By signing this agreem ent, the defendant acknow ledges that the defendant has

   discussed the appeal w aiver set forth in this agreem ent w ith the defendant's attorney. The

   defendantfurtheragrees,togetherw ith thisO ftice,to requestthatthe Courtentera specific finding

   thatthedefendant'swaiverofhisrightto appealthesentenceim posed in thiscaseand hisrightto

   appealhisconviction in them annerdescribed abovewasltnowing andvoluntary.

          19. The defendantrecognizesthatpleading guilty m ay have consequenceswith respectto

   the defendant's im m igration status if the defendant is not a citizen ofthe United States. Under

   federallaw ,a broad range of crim es are rem ovable offenses,including the offense to which the

   defendant is pleading guilty. lndeed, because the defendant is pleading guilty to narcotics

   trafticking,rem ovalispresum ptively m andatory. Rem ovaland otherim m igration consequences

   arethe subjectofa separateproceeding,however,and the defendantunderstandsthatno one,
   including the defendant's attorney or the Court, can predict to a certainty the effect of the

   defendant's conviction on the defendant's im m igration status. The defendant nevertheless

   affinusthatthe defendantw ants to plead guilty regardless ofany im m igration consequences that
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                                                  11
   the defendant's plea luay entail,even if the consequence is the defendant's autolnatic relnoval

   from theUnited States.

               Thisistheentireagreem entand understandingbetween thisOfticeandthedefendant.

   There areno otheragreem ents,promises,representations,orunderstandings and thisagreement

   supersedesany prioragreem ents,including any Kastigarletteragreementsentered.


                                              JUA N AN TON IO G ON ZA LEZ
                                              U N ITED STA TE TTO EY


  Date:(o ./f.zz.                      By:                  -
                                                   W A LTER M .N OR KIN
                                                   A SSISTAN T U .S A TTO RN EY

  Date: ?p -/ Y - J,2.                 By:
                                                   DAVID FERNANDEZ,ESQ.
                                                   ATTO RN EY FOR D EFEN D AN T

  Date:/.-/ /v C ?
                                                     AN V W CIA ZULUAGA
                                                    EFE     AN T
